Case: 2:20-cv-05473-ALM-CMV Doc #: 18 Filed: 11/15/21 Page: 1 of 1 PAGEID #: 1513




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

BETH A. SMITH,                                   :
                                                 :   Case No. 2:20-cv-5473
               Plaintiff,                        :
                                                 :   Chief Judge Algenon L. Marbley
       v.                                        :
                                                 :   Magistrate Judge Chelsey M. Vascura
COMMISSIONER OF                                  :
SOCIAL SECURITY,                                 :
                                                 :
               Defendant.


                    ORDER ON REPORT AND RECOMMENDATION

       On August 31, 2021, the United States Magistrate Judge issued a Report and

Recommendation (ECF No. 17) in this case, recommending that the Court overrule the Plaintiff’s

Statement of Errors and affirm the Commissioner’s denial of benefits. The parties were advised

specifically of their right to object to the Report and Recommendation within fourteen days and of

the rights they would waive by failing to do so. (Id. at 14). No objection has been filed, and the

deadline lapsed on September 14, 2021. Since neither party has objected, this Court ADOPTS the

Magistrate Judge’s Report and Recommendation and AFFIRMS the Commissioner’s

determination. This case is hereby DISMISSED.

       IT IS SO ORDERED.


                                                     ALGENON L. MARBLEY
                                                     UNITED STATES DISTRICT JUDGE

DATED: November 15, 2021
